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                             Case No. 15-2128

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE SIXTH CIRCUIT

                              Daniel Ericksen,
                             Plaintiff/Appellant,

                                      v.

                              J. Doe #1, et al.,
                            Defendants/Appellees


                               ___________________________
                    ON APPEAL FROM THE UNITED STATES DISTRICT
                   COURT FOR THE EASTERN DISTRICT OF MICHIGAN

                    APPELLANT’S MOTION FOR PROTECTIVE ORDER,
                   LEGAL ARGUMENT IN SUPPORT, AND CERTIFICATE
                                 OF SERVICE


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                                      Motion



In support of this motion, Appellant alleges as follows:


   (1) Appellant commenced this action with a Complaint filed in the Eastern

      District of Michigan on January 12, 2015. The case was assigned to district

      judge George Caram Steeh.

   (2) The Complaint alleges that CBP officers at the Blue Water Bridge routinely

      subject turnaround motorists who are not suspected of wrongdoing to a

      vehicle inspection.

   (3) The Complaint alleges that the practice described in paragraph (2) above is

      unconstitutional.

   (4) The Complaint alleges that on June 22, 2012, Appellant’s vehicle was

      subjected to a search as described in paragraph (2) above.

   (5) The search led to misdemeanor criminal charges being brought in 72nd

      District Court against Appellant by the City of Port Huron.

   (6) Appellant was 19 years old on June 22, 2012.

   (7) On June 26, 2015, 72nd District Court Judge John D. Monaghan entered an

      order that assigned Appellant to the status of youthful trainee under the

      Holmes Youthful Trainee Act, MCL §762.11 et seq.


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(8) Pursuant to Judge Monaghan’s order, the criminal proceedings against

   Appellant are inaccessible to the general public.

(9) On July 1, 2015, Judge Steeh entered an order granting Appellees’ motion

   to dismiss this case.

(10)        Appellant filed a motion for a protective order on July 31, 2015,

   asking that Judge Steeh edit the dismissal order so as not to identify

   Appellant, and that all court documents not edited in like fashion be sealed.

   Appellant sought this relief so that, consistent with the intent of Judge

   Monaghan’s HYTA order, the fact of the misdemeanor drug-related charges

   would not be public information.

(11)        Judge Steeh denied the motion for a protective order on September 1,

   2015.

(12)        On September 15, 2015, Appellant filed a motion asking Judge Steeh

   to reconsider the order denying his request for anonymity.

(13)        On September 21, 2015, Appellant filed a notice of appeal to this

   Court.      The appeal is from both the dismissal order (including the

   accompanying judgment and Judge Steeh’s denial of Appellant’s motion to

   Alter/Amend that order) and the order denying Appellant’s motion for a

   protective order.

(14)        On September 22, 2015, Judge Steeh denied the motion to reconsider.


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   (15)        On September 24, 2015, Appellant amended the notice of appeal to

        include appeal to this Court from Judge Steeh’s denial of the motion to

        reconsider.

   (16)        This Court has the authority to prohibit public access to any

        documents in the appellate record that disclose Appellant’s identity.

   (17)        If the Court affirms Judge Steeh’s order denying the motion for a

        protective order, the relief described in paragraph (16) above would promote

        the rehabilitative objective of the Holmes Youthful Trainee Act

        notwithstanding Appellant’s lack of anonymity at the lower-court level.

   (18)        The relief described in paragraph (16) above would not significantly

        undermine any legitimate public or governmental interest, as allowance

        could be made for public access to appellate-record documents – including

        the Court’s ruling on the dismissal order – which do not disclose Appellant’s

        identity.

   (19)        The relief described in paragraph (16) above would not adversely

        affect Appellees’ substantive or procedural rights.


Appellant therefore asks that the Court prohibit non-party access to any documents

in this appellate case, and related case no. 15-2166, which identify Appellant by

name.


January 7, 2016                                       /s/ Michael Ericksen (P40385)
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                                                                Attorney for Appellant

                                   Legal Argument

      This Court has the authority, upon a showing of “good cause,” to “limit or

prohibit a nonparty’s remote electronic access” to Court documents.               FRCP

5.2.(e)(2) (incorporated by FRAP 25(a)(5)).         Compare In re Knoxville News-

Sentinel, 723 F.2d 470, 473 (6th Cir. 1983) (All courts have the “supervisory

power” to control the extent to which the public may access “its own records and

files.” (citation omitted)); Campbell v. Ethex Corp., 464 F.Supp.2d 559, 561 (W.D.

Va. 2006) (“[W]hether to grant or restrict access to judicial records or documents

is a matter of a district court’s supervisory power . . . .” (citation omitted)). As will

be explained, Appellant believes that good cause exists for sealing the appellate

record in this case.


      Criminal defendants in Michigan aged 17 to 23 are potentially eligible for

designation as a “youthful trainee” pursuant to the Holmes Youthful Trainee Act

(“HYTA”), MCL §762.11 et seq. If the trainee satisfies applicable requirements,

then “all proceedings regarding the disposition of the criminal charge” are to be

“closed to public inspection.” MCL §762.14(4). HYTA is “remedial legislation”

reflecting “a legislative desire that persons in this age group not be stigmatized

with criminal records for unreflective and immature acts.” People v. Perkins, 107

Mich. App. 440, 444 (1981) (per curiam).

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      In the related criminal proceeding, Appellant was designated a youthful

trainee and, pursuant to HYTA and an order issued by 72nd District Court Judge

John D. Monaghan, the criminal-court proceedings have now been sealed.

Monaghan Order [R29-2], Page ID 401.


      The rehabilitative purpose of HYTA would be undermined if the general

public is able to obtain information regarding Appellant’s criminal prosecution

from documents filed on appeal in this civil action. Sealing the civil appellate

record would help to prevent prospective employers and others from gaining

access to information that they are barred from accessing directly. Such access

could have significant adverse consequences for Appellant, on both an economic

level and in terms of general social standing. Compare, e.g, Nixon v. Warner

Commn’s, 435 U.S. 589, 598 (1978) (Denial of public access to court documents

may be appropriate to prevent “harm [to] a litigant’s competitive standing.”); Doe

v. Porter, 370 F.3d 558, 560 (6th Cir. 2004) (The “infamy associated with criminal

behavior” is a factor militating in favor of allowing anonymity. (citation omitted));

United States v. Smoot, 1991 WL 85251, at *1 (6th Cir. May 21, 1991)

(unpublished) (“The Ohio statute attempts to minimize the stigma associated with

a minor misdemeanor drug abuse conviction involving a small amount of

marijuana by providing that a defendant arrested or convicted of such charges need

not reveal the arrest or conviction when asked if he or she has a criminal record.”);

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Brown & Williamson Tobacco Corp. v. FTC, 710 F.2d 1165, 1180 (6th Cir. 1983)

(“[A] court should . . . seal [judicial] records [if] . . . public access would reveal

legitimate trade secrets.”); Campbell, 464 F.Supp.2d at 561 (Courts may seal court

records in an effort to protect a business’s competitive advantage.).1 Granting the

relief requested by Appellant would therefore be in keeping with the broader

federal policy of not “unduly interfer[ing] with the legitimate activities of the

States.” Younger v. Harris, 401 U.S. 37, 44 (1971). Compare, e.g., United States

v. One Parcel of Property, 930 F.2d 139, 141 (2nd Cir.1991) (per curiam) (“[A]s a

matter of comity federal courts accord deference to state-created privileges . . .

[unless the privilege is] outweighed by a federal interest in presenting relevant

information to a trier of fact . . . .”); United States v. King, 73 FRD 103, 105 (E.D.

N.Y. 1976) (“A strong policy of comity between state and federal sovereignties




1
 When court records are sealed to protect corporate profits, the public may be
deprived of information which in part forms the basis for a judicial ruling. E.g.,
Baxter Int’l v. Abbott Laboratories, 297 F.3d 544, 545 (7th Cir. 2002) The public
has a significantly diminished interest in the disclosure of information which – like
Appellant’s identity – has no bearing on a the court’s decision. E.g., United States
v. Amodeo, 71 F.3d 1044, 1049 (2d Cir. 1995) (“An adjudication is a formal act of
government, the basis of which should, absent exceptional circumstances, be
subject to public scrutiny.” (emphasis added; citation omitted)); id. at 1050
(“Where testimony or documents play only a negligible role in the performance of
Article III duties, the weight of the presumption [of public access] is low . . . .”);
Zenith Radio Corp. v. Matsushita Elec. Indus. Co, 529 F.Supp 866, 901 (E.D. Pa.
1981) (“[C]ourts have an obligation to explain their decisions that is correlative to
the public’s common law access rights . . . .” (footnote omitted)).
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impels federal courts to recognize state privileges where this can be accomplished

at no substantial cost to federal substantive and procedural policy.”).


      The relief sought in this motion would not be rendered futile by continued

public disclosure of Appellant’s identity in federal district-court records.2 This is

so because the Court’s ruling on the constitutional issues will almost certainly have

the effect of eclipsing in significance Judge Steeh’s dismissal order: Few members

of the general public are likely to inquire into this case beyond the 4 corners of the

Court’s ruling.

      Appellate-level anonymity would be especially important if the Court were

to hold that the border-search exception does not require international travel. That

ruling would amount to rejection of this Court’s previous assumption that domestic

flights are outside the exception’s scope, and create a circuit split on that issue.

See Appellant’s Brief at 22-30. An emboldened CBP might begin conducting

random “border searches” on vehicles in near-border regions and at international

airports. See id.; compare id. at 33-37. The high-profile nature of such a landmark




2
 This motion would be rendered moot, on the other hand, if the Court reverses
Judge Steeh’s denial of Appellant’s motion to protect and, in connection with that
ruling, extends anonymity to the appellate record. Compare 6th Cir Rule 25(h)(5).
That outcome would of course be preferable from Appellant’s perspective because
it would reduce the identity-disclosure risk to the fullest possible extent.
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decision would inevitably undermine the effectiveness of Judge Monaghan’s

HYTA order.3


      This Court has suggested that requests for anonymity by people who have

filed a lawsuit “challeng[ing] governmental activity” should be looked upon with

favor. Porter, 370 F.3d at 560. See also, e.g., EW v. New York Blood Center, 213

FRD 108, 111 (E.D. N.Y. 2003) (“[W]here a plaintiff attacks governmental

activity, . . . the plaintiff’s interest in proceeding anonymously is considered

particularly strong.”). That is in substance what Appellant is doing in this Bivens

action, as evidenced by the fact that the U.S. Department of Justice has undertaken

Appellees’ representation.   See also Order Denying Motion for Protective Order

[R33] at Page ID 433 (wherein Judge Steeh acknowledges that Appellant is

challenging the validity of governmental conduct); Complaint [R1] at Page ID 25-

26, ¶¶ 169-74.


      Given the circumstances of this case, it is especially important that the

assertion of constitutional rights not be discouraged. As alleged by Appellant, the

TCP subjects dozens of non-border-crossing motorists each and every day to a


3
 Reaffirmation by the Court of the principle that the border-search exception is
limited to international travel would in contrast be of minimal legal significance.
But it would have obvious practical implications with regard to CBP operations at
the Blue Water Bridge. It therefore is plausible that a decision reversing Judge
Steeh’s ruling on that point would generate local attention in both legal circles and
in terms of news coverage.
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suspicionless vehicle search. See id. at Page ID 16-17, ¶¶ 95-102.                  The

constitutional validity of this practice is therefore a matter of some concern for the

general public – and particularly for persons residing/traveling in the vicinity of the

Blue Water Bridge. Yet the searches are unlikely to be challenged in court for a

number of reasons:


      (1) Few motorists would be willing to invest the time, energy, and money
         required to contest the validity of the search in federal court – particularly
         in the many cases where the search comes up empty;
      (2) Neither motorists nor attorneys have a strong incentive to file a Bivens
         case because it doesn’t involve the type of egregious conduct (e.g.
         physical brutality, extensive jail time) that is most likely to result in a
         large award for damages;
      (3) In cases where the suspicionless search results in prosecution, substantial
         pressure to accept a plea bargain operates as a disincentive to challenging
         the admissibility of evidence;
      (4) The risk of judicial bias at the local level is elevated, given the extensive
         financial assistance received on a regular basis by local government from
         DHS, and the substantial revenue generated by the TCP for local
         municipalities4;

4
 In the first iteration of the criminal case against Appellant (prior to the first of two
prosecution-requested dismissals without prejudice), Judge Platzer – sitting in Port
Huron -- completely ignored Appellant’s suppression motion, and set an expedited
trial date. Her order denying a subsequent version of the suppression motion is
spectacularly incompetent, as is the order affirming it issued by Judge West – also
sitting in Port Huron. See Proposed Sur-Reply [R22-1] at Page ID 312-22;
Proposed Supplemental Sur-Reply [R23-3] at Page ID 336-41; see generally
People v. Zavalnitskiy, 2011 WL 475192, at *12 (Mich. Ct. of App., Feb. 10, 2011)
(unpublished; per curiam) (suggesting that a judicial decision evinces bias if it is
outside the “range of reasonable and principled outcomes”). In late 2011, the Port
Huron        Fire      Department        was     given     $279,000        by       DHS.
http://candicemiller.house.gov/media-center/press-releases/miller-dhs-grant-
awarded-to-port-huron-fire-department. As part of his plea agreement, which of
course precluded an appeal from Judge West’s order, Appellant was required to
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      (5) Criminal defense attorneys, like the local municipalities, also profit from
         the TCP, and may therefore be disinclined to challenge it – particularly
         since doing so could antagonize judges before whom the attorney may
         appear on a regular basis.


      In short, there are already plenty of potential obstacles which may protect

rogue CBP officers from having to account for their actions. There is no good

reason why disclosure of an otherwise concealed criminal record should be added

to this list. See generally, e.g., Doe v. Provident Life & Accident Ins., 176 FRD

464, 467 (E.D. Pa. 1997) (“[T]he public may have a strong interest in protecting

the privacy of plaintiffs in controversial cases so that these plaintiffs are not

discouraged from asserting their claims.”); Doe v. Tandeske, 2003 WL 24085314,

at *2 (D. Alaska Dec. 5, 2003) (unpublished) (noting the “risk that if” persons like

the plaintiff, who was challenging the constitutionality of a state statute, “are not

allowed to proceed anonymously, no one will litigate issues which are clearly of

public importance”); cf., e,g,, Doe v. Kolko, 242 FRD 193, 195 (E.D. N.Y. 2006)

([T]he public generally has a strong interest in protecting the identities of sexual



pay a $300.00 fine. See Monaghan Order [R29-2] at Page ID 401. Port Huron
police officer Rumley testified that he personally had made as many as 50 calls to
the Blue Water Bridge in response to CBP arrests. Complaint [R1] at Page ID 16,
¶ 99. Constitutional challenges brought against DHS personnel also tend to be
viewed as unpatriotic. Compare Dismissal Order [R25] at Page ID 349-50 (CBP is
“charged with interdicting those individuals seeking to . . . harm Americans.” The
relief sought by Appellant would “undermine[ ]” CBP in the performance of its
“herculean . . . task.”).
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assault victims so that other victims will not be deterred from reporting such

crimes.”).


      Another consideration militating in Appellant’s favor is his age. He was still

a teenager on the day of the vehicle search. Thus from a legal standpoint, he was

not even sufficiently mature to purchase alcohol. Mich. Const. Art IV, §40 (1963).

And of course HYTA itself reflects a legislative judgment that 19-year-olds are

less likely to choose wisely than persons with more life experience. See Perkins,

107 Mich. App. at 444 (quoted supra p. 5). That conclusion, the validity of which

courts can take judicial notice, is supported by legislation in other jurisdictions.

See, e.g., United States v. Driskell, 277 F.3d 150, 154-56 (2nd Cir. 2002) (“The

New York youthful offender statutory scheme” allows for a judicial determination

“that the interest of justice would be served by relieving the eligible youth from the

onus of a criminal record . . . . [T]he statute . . . require[es], subject to certain

exceptions, that the official records and papers be sealed. . . . [T]hese provisions

emanate from a legislative desire not to stigmatize youths between the ages of 16

and 19 with criminal records triggered by hasty or thoughtless acts which, although

crimes, may not have been the serious deeds of hardened criminals.” (citations &

internal quotation marks omitted).


      Courts have in this context taken into consideration whether anonymity for

one party would “prejudice . . . the opposing party.” Kolko, 242 FRD at 195
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(citation omitted). Appellees are of course aware of Appellant’s identity, and they

cannot credibly claim to be adversely affected by shielding that information from

the general public.5 See, e.g., id. at 198 (“Importantly, defendants do not identify

how their ability to conduct discovery or impeach plaintiff’s credibility has been

impaired if he is permitted to proceed under a pseudonym. . . . Other than the

need to make redactions and take measures not to disclose plaintiff’s identity,

defendants will not be hampered or inconvenienced merely by plaintiff’s

anonymity in court papers.      Indeed, defendants already know plaintiff’s true

identity.” (emphasis added)); cf. Roe v. Aware Woman Center for Choice, 253 F.3d

678, 687 (11th Cir. 2001) (Since plaintiff has “offer[ed] to disclose her name to the

defendants for discovery purposes,” they would not be disadvantaged by

permitting her to “proceed anonymously.”).


       Nor are there strong countervailing federal interests that would be

compromised by attempting to maximize the effectiveness of HYTA and Judge


5
 In opposing Appellant’s lower-court motion for a protective order, Appellees
argued that (1) it would be unfair not to also give them anonymity; and (2)
documents redacted to conceal Appellant’s identity would thereby be rendered
incomprehensible. See Response [R31] at Page ID 414-16. The latter argument is
frivolous, and Judge Steeh rejected it. Order Denying Motion for Protective Order
[R33] at Page ID 435; see also Reply [R32] at Page ID 419-21 (explaining why the
argument is silly, although no explanation should be required). The fairness
argument fails because disclosure of Appellees’ identity wouldn’t undermine a
HYTA order, or discourage persons from challenging governmental conduct. Id.
at Page ID 423.
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Monaghan’s order. Until quite recently, in fact, provisions under federal law were

closely analogous to HYTA. See Doe v. Webster, 606 F.2d 1226, 1234-35 (D.C.

Cir. 1979) (The “primary concern” underlying the Federal Youth Corrections Act,

18 USC §§ 5005 et seq. [repealed], “was that rehabilitated youth offenders be

spared the . . . pervasive social stigma and loss of economic opportunity that in this

society accompany the ‘ex con’ label. . . . . [Congress] intended to give youthful

ex-offenders a fresh start, free from the stain of a criminal conviction, and an

opportunity to clean their slates to afford them a second chance, in terms of both

jobs and standing in the community.”).


      With respect to persons less than 21 years of age arrested and federally

charged for other than a violent felony, Congress has now given U.S. district

attorneys discretion to forego prosecution and “surrender” the suspect to state

authorities. 18 USC §5001. Thus current federal policy is to allow for deferral to

state law in the prosecution of youthful offenders.          See id. (Custody of the

“juvenile” is relinquished to the state so that he or she can be “deal[t] with . . .

according to the laws of such State.”). So while federal law may no longer reflect

a “pro HYTA” mindset, Congress has expressed no categorical opposition to such

remedial legislation. Compare In re Gault, 387 U.S. 1, 25 (1967) (“[T]here is no

reason why . . . a State cannot . . . provide . . . for the confidentiality of records of

. . . court action relating to juveniles.” (quoted in United States v. Three Juveniles,

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61 F.3d 86, 89 (1st Cir. 1995)); Three Juveniles, 61 F.3d at 86-87, 90 n.4 (rejecting

the Globe Newspaper Company’s challenge of a district-court ruling that denied

public access to proceedings against juvenile defendants accused of “hate crimes,”

and referring to the “long, entrenched, and well-founded tradition of confidentiality

regarding juvenile proceedings, and the compelling rehabilitative purposes behind

this tradition” (emphasis added)). And in Appellant’s case, the matter didn’t even

reach the low level of federal involvement contemplated in 18 USC §5001, as

federal authorities declined to charge him with an offense. Complaint [R1] at Page

ID 51, ¶ 350. Thus the executive branch disclaimed any interest even in whether

Appellant was prosecuted, much less in the prosecution’s outcome.


        Granting anonymity to Appellant would not have a serious impact on the

public’s right to know. That right is certainly compelling insofar as CBP is alleged

to be systematically searching scores of non-border-crossing vehicles every week

at the Blue Water Bridge. It is also important that the public be made aware of the

allegation that the TCP is a de facto joint operation between CBP and local law

enforcement. The public has a right to know that the constitutionality of the TCP

has been challenged in federal court, as well as the facts which prompted the

challenge. Most important of all, the public has a strong interest in knowing this

Court’s ruling on the legal issues, and the rationale for the ruling. See supra p. 7

n.1).

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      In comparison to the foregoing aspects of the case, however, Appellant’s

name is of miniscule importance – something which would be of only passing

interest to the general public. See generally, e.g., Provident Life, 176 FRD at 466

(“[N]othing in the [Federal] Rules [of Civil Procedure] or the Advisory Committee

Notes to the Rules indicates that the drafters were attempting to promulgate a rule

that neither a civil defendant nor civil plaintiff ever could proceed in

pseudonym.”). To illustrate this point, consider the famous/infamous decision of

Roe v. Wade, 410 U.S. 113 (1973). It would be absurd to claim that the non-

disclosure of the plaintiff’s identity in that case deprived the public of important

information: What really mattered was the substance of the Supreme Court’s

decision, and the Court’s rationale.     See Provident Life, 176 FRD at 467-68

(Anonymity is less disfavored in cases of a “purely legal nature” in which there is

“an atypically weak public interest in knowing the litigant’s identities[. sic]”

(emphasis added)); Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. 1981) (“The public

right to scrutinize governmental functioning . . . is not so completely impaired by a

grant of anonymity to a party as it is by closure of the trial itself. Party anonymity

does not obstruct the public’s view of the issues joined or the court’s performance

in resolving them. The assurance of fairness preserved by public presence at a

trial is not lost when one party’s cause is pursued under a fictitious name. These

crucial interests served by open trials . . . are not inevitably compromised by


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allowing a party to proceed anonymously.” (emphasis added)); Tandeske, 2003

WL 24085314 at *2 (Anonymity is permissible because “[t]he subject matter is . . .

the constitutionality of a statue. Doe’s status is of significance, but his identity is

not of significance to the case.        The public’s principal interest is in the

constitutional issue to be decided.” (emphasis added));            Fross v. County of

Allegheny, 2008 WL 4610290, at *2 (W.D. Pa. Oct. 16, 2008) (unpublished) (“To

the extent there is a public interest in this case, it is, or should be, focused on the

legal issues raised, and not the individuals bringing it.”); compare Porter, 370 F.3d

at 559-61 (wherein this Court affirmed a district court’s ruling that allowed the

plaintiffs to proceed anonymously, without once mentioning a right of the public to

know their names); Malizia v. U.S. Dep’t of Justice, 519 F.Supp. 338, 349 (S.D.

N.Y. 1981) (“[W]hile the right of privacy of these [FBI and DEA agents] . . . is

perhaps minimal, the public interest in identifying them [pursuant to a request

made under the Freedom of Information Act, 5 USC §552] is even less.” (footnote

omitted)).6 Surely the public interest served by a policy of disclosing a Bivens


      6
        Judge Steeh implicitly recognized that party names are of minimal
importance in his dismissal order, which discloses none of the appellees’ names.
See Dismissal Order [R25] at Page ID 342-53. That order has been published in
Westlaw and perhaps other electronic media – a fact which distinguishes it from all
other district-court documents in the case. So to the extent the general public has
to date learned of the lawsuit, Westlaw or other such media will overwhelmingly
be their source. Indeed, that’s the whole point of publication: It’s unlikely that
more than a very few people among the general public have accessed additional
district-court documents via PACER and its paywall. Thus if Judge Steeh thought
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plaintiff’s name is less robust than the public interest served by a policy of

encouraging (or at least not discouraging) such actions. See supra pp. 9-12; see

generally, e.g., Carlson v. Green, 446 U.S. 14, 21 (1980) (“[T]he Bivens remedy,

in addition to compensating victims, serves a deterrence purpose.”).


      Some courts have described as a relevant consideration “the extent to which

the identity of the litigant has been kept confidential.” Provident Life, 176 FRD at

467. At least one concern underlying this consideration appears to be undue delay

in seeking anonymity. See id. at 468 (“. . . Doe took steps from the beginning of

this case to maintain anonymity.”). Appellant disputes the validity of that concern

absent evidence that the party opposing anonymity has been prejudiced by the

perceived delay. The Appellees can make no such claim in this case.


      In any event, there has been no significant delay here. Judge Monaghan’s

order, which placed Appellant on one month of “non-reporting probation,” was

entered on June 26, 2105. Monaghan Order [R29-2] at Page ID 401. Compare

MCL §762.12(1) (The court which assigns an “individual to the status of a


it was highly important that the public know Appellees’ names, he presumably
would have obliged by providing that information in the dismissal order, rather
than making people pay to get it. His not having done so suggests that he
(correctly) regarded the information as nonessential. And if the names of
identification-wearing public employees accused of routinely and repeatedly
violating the Fourth Amendment aren’t particularly important, the same should
certainly be true of the private individual making the accusation.

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youthful trainee” may “revoke that status any time before the individual’s final

release.”) with MCL §762.12(2) (identifying certain offenses committed “during

the period of assignment” which would make revocation mandatory) and with

MCL §762.14(1), (4) (indicating that if the court doesn’t terminate/revoke

youthful-trainee status pursuant to MCL §762.12, the defendant is “final[ly]

release[d]” from such status, and the “proceedings” brought against him are

thereupon “closed to public inspection”). Appellant’s original motion for a

protective order [R29] was filed in the Eastern District of Michigan on July 31,

2015, less than one week after state-court proceedings were sealed pursuant to

HYTA and Judge Monaghan’s order.


      Nor is this a situation in which, owing to Appellant’s lack of anonymity to

date, the relief sought would be pointless.      Unsurprisingly, the misdemeanor

criminal case against Appellant received no attention from the news media – a fact

which itself militates in favor of his Appellant’s request for anonymity. See, e.g.,

Rossbach v. Rundle, 128 F. Supp.2d 1348, 1353 (S.D. Fla. 2000) (according “due

deference . . . to the public’s right to . . . newsworthy information” (emphasis

added)).7


7
 The absence of media coverage can’t be attributed to lack of opportunity: The
criminal case against Appellant was public information for more than three years
before being sealed. This extended period of full access further weakens the
already attenuated claim of a public right to know Appellant’s name.
                                        19
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      Finally, granting the relief requested would have no detrimental effect on

any significant public interest, because the Court’s ruling on the merits (with

Appellant’s identity concealed) would be publically accessible. Redacted versions

of other appellate filings could likewise be made public, if the Court or any party

believes that that would be beneficial. Compare Proposed Order Granting Motion

to Protect [R29-4] at Page ID 404-05.


      Based on the foregoing, Appellant asks that the Court enter an order which

prohibits non-parties from accessing appellate-court documents in this case and

related case no. 15-2166 other than those which conceal his identity. In the

alternative, Appellant asks that his identity not be disclosed in the Court’s

order/opinion addressing the merits of this appeal.8


January 7, 2016                                        /s/ Michael Ericksen (P40385)
                                                               Attorney for Appellant

                                  Certificate of Service

      I certify that on January 7, 2016, I electronically filed this document with the
Clerk of Court using the ECF system, which will send notice of the filing to
Appellees’ counsel.
January 7, 2016                                        /s/ Michael Ericksen (P40385)


As noted earlier, Judge Steeh’s dismissal order does not identify Appellees. This
8


unsolicited omission accorded them a substantial degree of anonymity. See supra
p. 17 n.6. Providing the same relative anonymity for Appellant vis-à-vis the
Court’s ruling on appeal would reduce the risk of sabotaging Judge Monaghan’s
HYTA order. See supra pp. 8-9, 19.
                                         20
